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             EXHIBIT 6
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·1

·2· · · · · · · UNITED STATES DISTRICT COURT
· · · · · · FOR THE SOUTHERN DISTRICT OF NEW YORK
·3
· · · · · · · CASE No. 20 CIV. 7311 (LAK)(JLC)
·4

·5· ·E. JEAN CARROLL,

·6· · · · · · ·Plaintiff,

·7· ·-vs-

·8· ·DONALD J. TRUMP,
· · ·in his personal capacity,
·9
· · · · · · · ·Defendant.
10· ·______________________________/

11

12

13· · · · · · · · · · · · ·=· =          =

14· · · · · · · · · · · ·CONFIDENTIAL

15· · · · · · · · · · · · ·=· =          =

16

17· · · · ·VIDEOTAPED DEPOSITION OF DONALD J. TRUMP

18
· · · · · · · · ·Wednesday, October 19, 2022
19· · · · · · · · · 10:22 a.m. - 3:50 p.m.

20· · · · · · · · · ·The Mar-a-Lago Club
· · · · · · · · · 1100 South Ocean Boulevard
21· · · · · · · ·Palm Beach, Florida, Florida

22

23· ·Stenographically Reported By
· · ·Pamela J. Pelino, RPR, FPR, CLR
24· ·Notary Public, State of Florida
· · ·TSG REPORTING
25· ·JOB NO. 218342
· · · · · · · · · · · · · ·-· - -


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                                                                           Page 18
·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · · · · (DJT Exhibit 2 was marked for
·3· ·identification.)
·4· ·BY MS. KAPLAN:
·5· · · · Q.· · I'm handing you a document that's printed
·6· ·off the Internet, and it has an Internet address at
·7· ·the bottom.· I'm not even going to try to read that.
·8· ·but it's entitled the April 1987 Penn dinner, and
·9· ·it's several pages with several photographs.· And
10· ·the top page -- well, let me read into the document.
11· ·It says 24 years ago -- withdrawn.
12· · · · · · · The article is dated April 5, 2011, and
13· ·it begins by saying:· "24 years ago this month at
14· ·the Metropolitan Club, there was a Penn dinner to
15· ·beat all previous Penn dinners.· It was chaired by
16· ·Gayfryd Steinberg, who was then one of the reining
17· ·queens of New York society."· Do you see that?
18· · · · A.· · Yes.
19· · · · Q.· · And there are various photos throughout
20· ·this document.· The first photo on the first page is
21· ·you and your wife?
22· · · · A.· · Yes.
23· · · · Q.· · With Ms. Steinberg?
24· · · · A.· · Yes.
25· · · · Q.· · And then if you turn to page 7 of 26.


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                                                                           Page 19
·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · A.· · (Witness complied.)
·3· · · · Q.· · On the bottom, do you see that picture of
·4· ·you?
·5· · · · A.· · Yes.
·6· · · · Q.· · Do you recognize who you're with there?
·7· · · · A.· · It's Elaine.
·8· · · · Q.· · And from the restaurant Elaine's?
·9· · · · A.· · Right.
10· · · · Q.· · Okay.· Sitting here today, sir, I take it
11· ·you don't recall being at this Penn dinner in 1987?
12· · · · A.· · No, not much.
13· · · · Q.· · But you have no reason to believe that
14· ·you weren't there as reported in this article?
15· · · · A.· · No.
16· · · · Q.· · Now, there's a report from the New York
17· ·Times -- let me back up.
18· · · · · · · How often would you go to Elaine's to
19· ·your recollection?
20· · · · A.· · Not very much.· I would say maybe a few
21· ·times a year.
22· · · · Q.· · And there's a report in the New York
23· ·Times -- I don't have to mark this.· You'll see if
24· ·you remember.· I'm reading from an article from the
25· ·New York Times dated October 16 -- excuse me --


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                                                                           Page 20
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·2022, that -- the title of which is "Nikki Haskell
·3· ·Learns the Social Costs of Supporting Donald Trump,"
·4· ·and it's an interview with a woman by the name of
·5· ·Nikki Haskell.· And she says in this article that
·6· ·"the first night he" -- being you -- "took a Czech
·7· ·fashion model named Ivana Zelnícková" -- I hope I
·8· ·got that right -- out on the town, Ms. Haskell,
·9· ·along with her date.· Met up with them at Elaine's."
10· · · · · · · Do you recall very early in your
11· ·relationship with your first wife taking her out to
12· ·Elaine's?
13· · · · A.· · No.
14· · · · Q.· · Sitting here today, do you know if you
15· ·ever ate at Elaine's with Ivana Trump?
16· · · · A.· · Yes, I think.
17· · · · Q.· · And there's an article -- it's true, sir,
18· ·that your first wife in particular liked going to
19· ·Elaine's?· I have numerous articles talking of her
20· ·going there.
21· · · · A.· · She liked different places.· She liked
22· ·Elaine's.
23· · · · Q.· · Okay.· Now, are you familiar, sitting
24· ·here today, with something known as "the writers
25· ·table" at Elaine's?


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                                                                           Page 21
·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · A.· · A little bit.· Not much.
·3· · · · Q.· · What do you mean, "a little bit"?
·4· · · · A.· · Certain celebrity writers would go to
·5· ·Elaine's.· It was known for that.· She liked
·6· ·writers.· She liked people that were intelligent,
·7· ·and they would -- there was a table designated where
·8· ·she would have dinner with certain -- usually
·9· ·celebrity writers.
10· · · · Q.· · Do you recall ever sitting at the
11· ·writers' table at Elaine's?
12· · · · A.· · I might have.
13· · · · Q.· · I'm going to go through just a few events
14· ·that we have records of that you attended during the
15· ·period late 1995 to early 1996.· It shouldn't take
16· ·very long, but I just want to establish this for the
17· ·record.
18· · · · · · · MS. KAPLAN:· And the first I'm going to
19· · · · mark is, I guess, DJT 2.
20· · · · · · · (DJT Exhibit 3 was marked for
21· ·identification.)
22· ·BY MS. KAPLAN:
23· · · · Q.· · So in front of you, you have a document
24· ·we've marked as DJT 3.· It's a reprint of something
25· ·on the Internet from Getty Images, and am I right


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                                                                           Page 22
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·that this article and this photo indicates that you
·3· ·attended a roast of the actor Steven Seagal at the
·4· ·Friars Club in New York on October 6, 1995?
·5· · · · A.· · Well, I have a different article.
·6· · · · · · · MS. HABBA:· We have the Mark Jacobs
·7· · · · fashion show one.
·8· · · · · · · MS. KAPLAN:· I'm sorry.
·9· · · · · · · (Discussion held off the record.)
10· · · · · · · MS. KAPLAN:· I'm remarking as DJT 3 an
11· · · · article -- a reprint from Getty's Images.
12· · · · · · · (Discussion held off the record.)
13· ·BY MS. KAPLAN:
14· · · · Q.· · Let me just scroll back for a second.
15· · · · · · · So in the period in the '80s and '90s,
16· ·we've already discussed you would go to benefits and
17· ·parties.· And is it fair to say that at a lot of
18· ·those parties, there would be a -- or benefits there
19· ·would be kind of a photography line either at the
20· ·beginning or throughout the event?
21· · · · A.· · Yes.
22· · · · Q.· · And that people would take photographs
23· ·like Getty Images and then put them out?
24· · · · A.· · Right.
25· · · · Q.· · So if you look at DJT 3, is it fair to


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                                                                           Page 23
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·say that this indicates that you were at a roast of
·3· ·Steven Seagal at the Friars Club in New York City on
·4· ·October 6, 1995?
·5· · · · A.· · Yes.
·6· · · · Q.· · All right.
·7· · · · · · · MS. KAPLAN:· Similarly, we're going to
·8· · · · mark as -- DJT 4.
·9· · · · · · · (DJT Exhibit 4 was marked for
10· · · · identification.)
11· ·BY MS. KAPLAN:
12· · · · Q.· · And is it fair to say that this shows
13· ·that you attended a fashion show with your daughter
14· ·and Marla Maples on October 2, 1995, in Bryant Park?
15· · · · A.· · Yes.
16· · · · · · · (DJT Exhibit 5 was marked for
17· ·identification.)
18· ·BY MS. KAPLAN:
19· · · · Q.· · You have DJT 5 in front of you, sir?
20· · · · A.· · Yes.
21· · · · Q.· · And this is another Getty Images
22· ·printout, and is it fair to say that this document
23· ·indicates that you were the grand marshal of the New
24· ·York City Veterans Day Parade on November 10, 1995,
25· ·in New York City?


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                                                                           Page 24
·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · A.· · Yes.
·3· · · · Q.· · Getty Images would be very proud of
·4· ·itself.
·5· · · · · · · MS. KAPLAN:· Another document we'll mark
·6· · · · as DJT 6.
·7· · · · · · · (DJT Exhibit 6 was marked for
·8· ·identification.)
·9· ·BY MS. KAPLAN:
10· · · · Q.· · DJT 6.· Is it fair to say that you and
11· ·your then wife, Marla Maples, were sighted at the
12· ·Coco Pazzo restaurant in New York City on December
13· ·4, 1995?
14· · · · A.· · Yes.· Looks like it.
15· · · · · · · (DJT Exhibit 7 was marked for
16· ·identification.)
17· ·BY MS. KAPLAN:
18· · · · Q.· · And DJT 7 indicates that you attended a
19· ·fashion benefit for the design industry's foundation
20· ·Fighting AIDS on April 24, 1996; correct?
21· · · · A.· · Yes.
22· · · · · · · (DJT Exhibit 8 was marked for
23· ·identification.)
24· ·BY MS. KAPLAN:
25· · · · Q.· · And, finally, DJT 8, which you should


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                                                                            Page 25
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·have in front of you, sir, has a photograph, and the
·3· ·caption reads "New York Real Estate Giant
·4· ·Donald Trump Poses in His Trump Tower Office on a
·5· ·Giant Letter T on May 8, 1996."
·6· · · · · · · Do you have that in front of you?
·7· · · · A.· · Yes.
·8· · · · Q.· · And you have no reason to believe that
·9· ·this photo wasn't taken on May 8, 1996?
10· · · · A.· · It's fine.
11· · · · Q.· · When you say this is fine, you mean you
12· ·agree that this photo was taken of you on May 8,
13· ·1996?
14· · · · A.· · Yes.
15· · · · Q.· · Okay.· Now, during this period, which
16· ·would be late 1995, early 1996, who kept your
17· ·calendar?
18· · · · A.· · Kept my what?
19· · · · Q.· · Calendar.
20· · · · A.· · Norma Foerderer.
21· · · · Q.· · Norma Foerderer.· She was your executive
22· ·assistant?
23· · · · A.· · Yes.
24· · · · Q.· · And sitting here today, do you know -- I
25· ·take it was kept like an old-fashioned calendar on


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                                                                            Page 34
·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · · · · (Video played.)
·3· ·BY MS. KAPLAN:
·4· · · · Q.· · We didn't show very much of it, sir.
·5· ·We're trying not to waste time, but I will represent
·6· ·to you that that was the beginning of a Charlie Rose
·7· ·episode from November 5, 1992.· And in that episode,
·8· ·you talked about rumors that you might run for
·9· ·president.
10· · · · · · · Does that sound right to you?
11· · · · A.· · Yeah.
12· · · · Q.· · Your appearance on Charlie Rose was well
13· ·received as you recall?
14· · · · A.· · I think so.
15· · · · Q.· · You also appeared on Saturday Night Live;
16· ·correct?
17· · · · A.· · Yes.
18· · · · Q.· · And the first time you appeared on
19· ·Saturday Night Live, as far as we can tell, was
20· ·September 24, 1989, when Chevy Chase poured popcorn
21· ·on your head.· Do you recall that?
22· · · · A.· · Could be, yeah.
23· · · · Q.· · Okay.· Let's go to the video, and I'm
24· ·going to do the same thing.
25· · · · · · · MS. KAPLAN:· We're going to mark this


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                                                                            Page 35
·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · video clip as DJT 11.· And I'll try not to
·3· · · · break any furniture.
·4· · · · · · · (DJT Exhibit 11 was marked for
·5· ·identification.)
·6· · · · · · · (Video played.)
·7· ·BY MS. KAPLAN:
·8· · · · Q.· · Now, he's wearing a football helmet, but
·9· ·do you recall that taping when Chevy Chase was
10· ·walking through the audience at Saturday Night Live
11· ·and obviously intentionally as a joke dropped
12· ·popcorn on your head?
13· · · · A.· · Yes.
14· · · · Q.· · And I take it you knew Lorne Michaels,
15· ·the producer of Saturday Night Live?
16· · · · A.· · I did.
17· · · · Q.· · Were you friends with him?
18· · · · A.· · He was fine.· He'd always want me to be
19· ·on the show.· They asked me a lot.· I'd do it
20· ·sometimes.· I hosted it.· But, you know, I wouldn't
21· ·say friends, but we got along.
22· · · · Q.· · Did you see him from time to time maybe
23· ·at social events?· Charity events?
24· · · · A.· · A little bit, yep.
25· · · · Q.· · Okay.· Now, you also -- I'm just kind of


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                                                                            Page 36
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·going through the shows you appeared on.
·3· · · · · · · Another show you appeared on during this
·4· ·period was Good Morning America?
·5· · · · A.· · Yeah.
·6· · · · Q.· · And based on our research -- and we're
·7· ·going to mark this as DJT -- well, let me just -- I
·8· ·don't think I need to mark it.
·9· · · · · · · Based on our research -- and we're taking
10· ·this from IMDB -- your first appearance on Good
11· ·Morning America was April 2, 1990.· Does that sound
12· ·about right?
13· · · · A.· · Could be.
14· · · · Q.· · Okay.· We'll show you the document.
15· · · · · · · MS. KAPLAN:· Let's mark it as 12.
16· · · · · · · MS. HABBA:· I'm just going to object on
17· · · · the record.· I don't know what IMDB's --
18· · · · · · · MS. KAPLAN:· Okay.
19· · · · · · · MS. HABBA:· -- process is for figuring
20· · · · out that information.
21· · · · · · · (DJT Exhibit 12 was marked for
22· ·identification.)
23· ·BY MS. KAPLAN:
24· · · · Q.· · So your counsel just made an objection
25· ·saying that she doesn't know what IMDB's process is


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                                                                            Page 54
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·is it your understanding that it happened before the
·3· ·excerpt from Ms. Carroll's book was published in
·4· ·New York Magazine?
·5· · · · A.· · I don't know.
·6· · · · · · · (DJT Exhibit 18 was marked for
·7· ·identification.)
·8· ·BY MS. KAPLAN:
·9· · · · Q.· · I'm handing you a document that's been
10· ·marked as DJT 18.· It bears the Bates range Carroll
11· ·24378 through 24385.· Do you have that in front of
12· ·you?
13· · · · A.· · Yeah.
14· · · · Q.· · Sitting here today, do you recognize this
15· ·document?
16· · · · A.· · No.
17· · · · Q.· · I will represent to you that this is the
18· ·excerpt from Ms. Carroll's book that was published
19· ·in New York Magazine online -- originally online on
20· ·June 21, 2019.
21· · · · A.· · Okay.
22· · · · Q.· · At any point in time, did you read this
23· ·article?
24· · · · A.· · Excuse me?
25· · · · Q.· · Did you ever read this article?· This


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                                                                            Page 55
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·document in front of --
·3· · · · A.· · No, I don't believe I did.
·4· · · · · · · (DJT Exhibit 19 was marked for
·5· ·identification.)
·6· ·BY MS. KAPLAN:
·7· · · · Q.· · I've handed you a book marked as DJT 19,
·8· ·a book by E. Jean Carroll.· It says What Do We Need
·9· ·Men For, and if you look at the publication date, it
10· ·says first edition July 2019.· Do you have that?
11· · · · A.· · Yes.
12· · · · Q.· · Do you have that book in front of you?
13· · · · A.· · Yeah.
14· · · · Q.· · Sitting here today, sir, have you ever
15· ·read this book either in its entirety or any portion
16· ·of this book?
17· · · · A.· · No, never have.· I've never seen the book
18· ·actually.
19· · · · Q.· · Okay.· Now, the allegations that first
20· ·appeared in DJT 18, which is the article -- it was
21· ·big news that Ms. Carroll had made this allegation
22· ·against you; correct?
23· · · · A.· · I'd say it was, yeah.· Because that's
24· ·what she wanted, to sell a book.
25· · · · Q.· · And it was covered widely in the press;


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                                                                            Page 60
·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · A.· · Perhaps, yes.
·3· · · · Q.· · Sitting here today, do you stand by this
·4· ·statement?
·5· · · · A.· · Yes.
·6· · · · Q.· · Sitting here today, are there any
·7· ·inaccuracies in this statement that you now know of?
·8· · · · A.· · Not that I can see, no.· The only thing
·9· ·that I would say is -- and I've just heard this --
10· ·that she has no idea when this event took place, and
11· ·somehow 23 years is mentioned, 23 years ago.· It's a
12· ·long time.· But she has no idea supposedly when this
13· ·took place, what season, what year, what month, what
14· ·day.· She knows nothing.· And for some reason, it's
15· ·put down here 23 years ago.· So, you know, at one
16· ·point I was told 23 years.· But I've heard since she
17· ·really has no clue when this took place supposedly,
18· ·which -- it didn't take place.
19· · · · Q.· · So is it your testimony that when
20· ·Ms. Carroll made her allegations, she had -- putting
21· ·aside what day it happened that she had no idea
22· ·whatsoever of what year it took place?
23· · · · A.· · My lawyers told me that.
24· · · · Q.· · Okay.· I don't want to know what your
25· ·lawyers told you.


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                                                                            Page 64
·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · this.
·3· ·BY MS. KAPLAN:
·4· · · · Q.· · And I take it -- is it fair to say that
·5· ·when you made comments while you were president on
·6· ·your way to somewhere, on your way to an event, on
·7· ·your way to boarding Air Force One or Marine One
·8· ·that a transcript would be created like this and
·9· ·released by your press office?
10· · · · A.· · Oftentimes, yeah.
11· · · · Q.· · Are you better able -- this is a long
12· ·one.· Let's try to do this, sir.· Are you better
13· ·able to read the writing in this document than the
14· ·previous document?
15· · · · A.· · I can.· You could read it.· But why don't
16· ·you read it?
17· · · · Q.· · You want me to read it?
18· · · · A.· · Yeah.
19· · · · Q.· · When my son was little, I couldn't stand
20· ·reading books to him because you had to read it so
21· ·slow, and it would drive me nuts.· But I'm going to
22· ·try to read it slow.
23· · · · · · · At the bottom of page 1800, it says "The
24· ·President," colon, and then it says as follows:
25· · · · · · · "I have no idea who this woman is.· This


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                                                                            Page 65
·1· · · · · · · · · · · · D. J. TRUMP
·2· ·is a woman who has also accused other men of things
·3· ·as you know.· It is a totally false accusation.                   I
·4· ·think she was married, as I read.· I have no idea
·5· ·who she is, but she was married to an actually nice
·6· ·guy, Johnson, a newscaster.
·7· · · · · · · "Question:· You were in a photograph with
·8· ·her?
·9· · · · · · · "The President:· Standing with coat on in
10· ·a line -- give me a break -- with my back to the
11· ·camera.· I have no idea who she is.· What she did
12· ·is -- it's terrible, what's going on.· So it's a
13· ·total false accusation, and I don't know anything
14· ·about her, and she's made this charge against
15· ·others.· And, you know, people have to be careful
16· ·because they're playing with very, very dangerous
17· ·territory."
18· · · · · · · Am I going slow enough?
19· · · · A.· · Yeah, you're going fine.
20· · · · Q.· · "And when they do that -- and it's
21· ·happening more and more.· And when you look at what
22· ·happened to Justice Kavanaugh and when you look at
23· ·what's happening to others, you can't do that for
24· ·the sake of publicity.· New York Magazine is a
25· ·failing magazine.· It's ready to go out of business


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·from what I hear.· They'll do anything they can, but
·3· ·this was about many men.· And I was one of the many
·4· ·men that she wrote about.· It's a totally false
·5· ·accusation.· I have absolutely no idea who she is.
·6· ·There's some picture where we're shaking hands.· It
·7· ·looks like it's some kind of event.· I have my coat
·8· ·on.· I have my wife standing next to me.· And I
·9· ·didn't know her husband, but he was a newscaster.
10· ·But I have no idea who she is.· None whatsoever.
11· ·It's a false accusation, and it's a disgrace that a
12· ·magazine like New York -- which is one of the
13· ·reasons it's failing.· People don't read it anymore.
14· ·So you're trying to get readership by using me.
15· ·It's not good.· You know, there were cases that the
16· ·mainstream media didn't pick up, and I don't know if
17· ·you've seen them, and they were put on Fox.· But
18· ·there were numerous cases where women were paid
19· ·money to say bad things about me.· You can't do
20· ·that.· You can't do that.· And those women did wrong
21· ·things, that women were actually paid money to say
22· ·bad things about me.· But here's a case.· It's an
23· ·absolute disgrace that she's allowed to do that."
24· · · · · · · You made that statement, correct?
25· · · · A.· · Read the last part, please.


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · Q.· · "But here's a case.· It's an absolute
·3· ·disgrace that she's allowed to do that."
·4· · · · A.· · Yes.
·5· · · · Q.· · Okay.· And I'm going to ask the same
·6· ·questions I asked last time.
·7· · · · · · · I take it you stand by that statement
·8· ·today?
·9· · · · A.· · Yes.
10· · · · Q.· · Sitting here today, are you aware of any
11· ·inaccuracies in your statement?· I'm not asking
12· ·about her allegation.· About your statement.
13· · · · A.· · No.· I think it's pretty much fine.                  I
14· ·can't -- I haven't reviewed it in great detail, but,
15· ·you know, it was standing outside of a helicopter
16· ·that was getting ready to take off.· But, no, that
17· ·was -- that -- the statement is, in my opinion,
18· ·correct.
19· · · · Q.· · Okay.· And just so the record is clear,
20· ·if at any point you come across any inaccuracies,
21· ·please don't hesitate to let us know.
22· · · · · · · Let's go now to the third statement,
23· ·which we're going to mark as DJT 22.
24· · · · · · · (DJT Exhibit 22 was marked for
25· ·identification.)


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·BY MS. KAPLAN:
·3· · · · Q.· · You have in front of you, sir, a
·4· ·five-page document.· The first page says in bold
·5· ·type "Exclusive:· Trump vehemently denies
·6· ·E. Jean Carroll allegation.· Says she's not my
·7· ·type."
·8· · · · · · · It's from a publication known as The
·9· ·Hill.· It's dated June 24, 2019, and it's attributed
10· ·to the gentleman Jordan Fabian and -- or maybe not
11· ·the gentleman.· It's attributed to two people,
12· ·Jordan Fabian and Saagar Enjeti.· Do you see that?
13· · · · A.· · Yes.
14· · · · Q.· · So this is two days after the last
15· ·statement we're looking at, which is on June 22nd.
16· · · · · · · Do you recall having an interview with
17· ·reporters from The Hill on June 24, 2019?
18· · · · A.· · Vaguely, yes.
19· · · · Q.· · And do you recall where that interview
20· ·took place?
21· · · · A.· · I think it was in the Oval Office.
22· · · · Q.· · And if you turn to page -- the first
23· ·page -- it's really page 2 of the document I gave
24· ·you.· At the very top it says:· "President said
25· ·Monday that writer E. Jean Carroll was totally lying


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·when she recently accused him of raping her during
·3· ·an encounter in a New York department store in the
·4· ·mid-1990s."· And then it talks about an exclusive
·5· ·interview with The Hill.· Do you see that?
·6· · · · A.· · Yeah.
·7· · · · Q.· · And you're quoted just below that
·8· ·paragraph as saying as follows -- and this one I'll
·9· ·read:· "I'll say it with great respect.· Number one,
10· ·she's not my type.· Number two, it never happened.
11· ·It never happened.· Okay?"
12· · · · · · · And then the reporters say:· "The
13· ·president said, 'Well, see you behind the Resolute
14· ·Desk in the Oval Office.'"· Do you see that?
15· · · · A.· · Yes, I do.
16· · · · Q.· · And the statement that I just read that
17· ·begins "I'll state with great respect," that was a
18· ·statement that you made to the reporter for The Hill
19· ·on June 24, 2019; correct?
20· · · · A.· · Yes.
21· · · · Q.· · And the same set of questions.· I take
22· ·it, sir, that you stand by that statement today?
23· · · · A.· · Yes, I do.
24· · · · Q.· · And I take it that from what we've been
25· ·discussing so far that you don't see any


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·inaccuracies in that statement?
·3· · · · · · · MS. HABBA:· Objection to form.
·4· · · · · · · You can answer.
·5· · · · · · · THE WITNESS:· No.· No.· She made up the
·6· · · · story.· It's a total lie.· She knows it.· She
·7· · · · did it to sell a book, I guess, or something.
·8· ·BY MS. KAPLAN:
·9· · · · Q.· · In your June 21 statement, which is DJT
10· ·20, which is the Littman tweet, you referred to
11· ·Ms. Carroll's claim as a false accusation?
12· · · · A.· · Where is this?
13· · · · Q.· · DJT 20.
14· · · · A.· · Yeah.
15· · · · Q.· · You say it's a false accusation; correct?
16· · · · A.· · It's true.
17· · · · Q.· · And in your June 22 statement made on
18· ·your way to Camp David, you said that she made a
19· ·false accusation and a totally false accusation;
20· ·correct?
21· · · · A.· · Yes.
22· · · · Q.· · And in your interview with The Hill on
23· ·June 24, you say that Ms. Carroll was totally lying
24· ·and it never happened?
25· · · · A.· · Correct.


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·Smith or by somebody within minutes; okay?· So there
·3· ·were no complaints.· There were no stories.· There
·4· ·was no anything because it never happened.· It's all
·5· ·fiction.· It's a con job.
·6· · · · Q.· · So before you made your statements that
·7· ·it never happened in 2019, did you or anyone on your
·8· ·staff reach out to anyone at Bergdorf Goodman?
·9· · · · A.· · I didn't have to reach out to anybody
10· ·because it didn't happen.· And by the way, if it did
11· ·happen, it would have been reported within minutes.
12· ·You're talking about going to a major floor
13· ·probably.· I assume the most important floor, a
14· ·major floor in a major department stores that's a
15· ·very busy store, by the way, and checkout counters
16· ·and everything else.· And I would be in there?                  I
17· ·mean, it's the most ridiculous -- it's the most
18· ·ridiculous, disgusting story.· It was just made up.
19· · · · · · · MS. HABBA:· Just to clarify, the question
20· · · · is if he reached out to Bergdorf?
21· · · · · · · MS. KAPLAN:· If he or anyone before he
22· · · · made the statement in June 2019.
23· · · · · · · MS. HABBA:· If he directed anyone?
24· · · · · · · MS. KAPLAN:· Did he or anyone working for
25· · · · him reach out to Bergdorf Goodman.


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · · · · THE WITNESS:· No.
·3· ·BY MS. KAPLAN:
·4· · · · Q.· · After you made the statements that you
·5· ·made in June of 2019, did you or anyone working for
·6· ·you reach out to Bergdorf Goodman?
·7· · · · A.· · After the statement was made?· No.
·8· · · · Q.· · No?
·9· · · · A.· · No.· This would have been public years
10· ·ago if it happened.· Years ago, many people, very
11· ·crowded store.
12· · · · · · · MS. HABBA:· Obviously, just to make the
13· · · · record clear, we're not discussing any
14· · · · conversations he had with attorneys.· That
15· · · · would be privileged.
16· · · · · · · MS. KAPLAN:· But if you had the
17· · · · statement, you could say had the conversation,
18· · · · but I don't know what it was.· That's fair.
19· · · · But other than that, I don't want to know.· And
20· · · · I'm talking about Bergdorf Goodman.· So I'm not
21· · · · asking about attorneys.
22· ·BY MS. KAPLAN:
23· · · · Q.· · In your June 21 statement, which is --
24· ·oh, Exhibit 20.
25· · · · · · · MS. KAPLAN:· I thought you were


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·2· · · · correcting the date.· He kept saying 20.
·3· ·BY MS. KAPLAN:
·4· · · · Q.· · In your June 21 statement that's marked
·5· ·as Exhibit 20, you say -- and this is the Littman
·6· ·tweet -- "I never met this person in my life."
·7· · · · A.· · Yes.
·8· · · · Q.· · Was that a true statement when you made
·9· ·it on June 21, 2019?
10· · · · A.· · It was a true statement when I made it.
11· ·I think subsequently or at some point they showed a
12· ·picture on a receiving -- I was on a celebrity line
13· ·for a charity, and I think I was either shaking her
14· ·hand or her husband's hand on a receiving line.
15· ·Like I say, I shake a lot of hands with people, but
16· ·I had no idea who she was.
17· · · · Q.· · So if I can understand your testimony,
18· ·sir, you're saying that at the time you made the
19· ·statement that's in DJT 20, you were not aware of
20· ·ever having met Ms. Carroll?· You have since seen a
21· ·photograph that shows you with Ms. Carroll on a
22· ·receiving line; correct?
23· · · · A.· · Along with a lot of other people.
24· · · · · · · MS. HABBA:· Objection to form.
25· · · · · · · THE WITNESS:· This was a very public -- I


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·2· · · · think it was a charity or a celebrity event or
·3· · · · something.· And I think that's her big claim to
·4· · · · fame, you know, that she shook my hand at some
·5· · · · celebrity event.
·6· ·BY MS. KAPLAN:
·7· · · · Q.· · So the answer to my question is yes, that
·8· ·after you made the statement, you became aware that
·9· ·there's a photo of you with Ms. Carroll in a
10· ·receiving line; correct?
11· · · · A.· · At some point.
12· · · · Q.· · Okay.
13· · · · A.· · I saw there was a photo on a receiving
14· ·line, yes.
15· · · · Q.· · Okay.
16· · · · · · · MS. KAPLAN:· Let's mark the photo.· What
17· · · · number are we on?
18· · · · · · · (DJT Exhibit 23 was marked for
19· ·identification.)
20· ·BY MS. KAPLAN:
21· · · · Q.· · You have in front of you a black and
22· ·white photograph that we've marked as DJT 23.· And
23· ·I'm going to ask you:· Is this the photo that you
24· ·were just referring to?
25· · · · A.· · I think so, yes.


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · Q.· · And do you recall when you first saw this
·3· ·photo?
·4· · · · A.· · At some point during the process, I saw
·5· ·it.· I guess that's her husband, John Johnson, who
·6· ·was an anchor for NBC.· Nice guy, I thought.                  I
·7· ·mean, I don't know him, but I thought he was pretty
·8· ·good at what he did.· I don't even know the woman.
·9· ·I don't know who -- it's Marla.
10· · · · Q.· · You're saying Marla is in this photo?
11· · · · A.· · That's Marla, yeah.· That's my wife.
12· · · · Q.· · Which woman are you pointing to?
13· · · · · · · MS. HABBA:· No, that's Carroll.
14· · · · · · · THE WITNESS:· Oh, I see.
15· ·BY MS. KAPLAN:
16· · · · Q.· · The person you just pointed to was
17· ·E. Jean Carroll.
18· · · · · · · MS. HABBA:· That's your wife.
19· ·BY MS. KAPLAN:
20· · · · Q.· · And the person -- the woman on your right
21· ·was --
22· · · · A.· · I don't know.· This was the picture.                   I
23· ·assume that's John Johnson.
24· · · · · · · MS. HABBA:· That's Carroll.
25· · · · · · · THE WITNESS:· That's Carroll?· Because


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·2· · · · A.· · No.· I don't know how I even knew she was
·3· ·married to him.· At some point I heard that she was
·4· ·married to John Johnson, who I knew as an announcer
·5· ·or anchor, I thought, for ABC.
·6· · · · Q.· · Now, in your June 21 statement, which
·7· ·is -- in your June 21 statement, which is DJT 20,
·8· ·you said that Ms. Carroll was trying to sell a new
·9· ·book and that you said shame on those who make up
10· ·false stories of assault to try to get publicity for
11· ·themselves or sell a book?
12· · · · A.· · Yeah, that's right.
13· · · · Q.· · Before you made that statement, did you
14· ·have any knowledge one way or the other of the
15· ·financial arrangements between Ms. Carroll and the
16· ·publisher of her book?
17· · · · A.· · No.
18· · · · Q.· · Did you even know who her publisher was?
19· · · · A.· · No.
20· · · · Q.· · Did you ever see her book contract?
21· · · · A.· · No.
22· · · · Q.· · Did you know anything about Ms. Carroll's
23· ·financial situation?
24· · · · A.· · No.
25· · · · Q.· · Did you know anything about her expected


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·book sales?
·3· · · · A.· · No idea.
·4· · · · Q.· · Before you made this statement, do you
·5· ·know if you or anyone working for you went on to --
·6· ·withdrawn.
·7· · · · · · · Before you made this statement that
·8· ·appears in DJT 20, do you know whether you or anyone
·9· ·working for you did any research on Ms. Carroll?
10· · · · A.· · I just don't know.· It's possible
11· ·somebody -- when they heard this horrible
12· ·accusation, it's possible that somebody did a little
13· ·quick research but not that I know of.
14· · · · Q.· · Another thing that you say in your June
15· ·21 statement is that Ms. Carroll was trying to carry
16· ·out a political agenda?
17· · · · A.· · Yeah.
18· · · · Q.· · How did you know she had a political
19· ·agenda if you didn't know who she was?
20· · · · A.· · Somebody told me early on that she was
21· ·somehow aligned with Hillary Clinton.· She was
22· ·either aligned with her or -- I thought aligned with
23· ·her.
24· · · · Q.· · Who told you that?
25· · · · A.· · I think you're aligned with her too


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·actually.
·3· · · · Q.· · Who told you that?
·4· · · · A.· · Somebody had mentioned it.
·5· · · · Q.· · Do you recall who?
·6· · · · A.· · I don't know.· I don't know who said it,
·7· ·but somebody had mentioned it since, that she was
·8· ·somehow into that whole world.
·9· · · · Q.· · And you just said "I don't know who -- I
10· ·don't know who said it, but somebody has mentioned
11· ·it since"?
12· · · · A.· · No.· I meant since the accusation.
13· · · · Q.· · Oh, since the accusation.
14· · · · · · · Do you remember what that person told you
15· ·if you don't --
16· · · · A.· · Just mentioned that they thought she was
17· ·somewhat political and aligned with Hillary Clinton.
18· · · · Q.· · Before issuing your statement on June 21,
19· ·did you learn what political party Ms. Carroll
20· ·belonged to?
21· · · · A.· · No, I didn't know that.
22· · · · Q.· · Before you issued your June 21 statement,
23· ·did you have any documents indicating that she was
24· ·pursuing a political agenda?
25· · · · A.· · No.


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · Q.· · At the end of your statement, your June
·3· ·21 statement, you say:· "If anyone has information
·4· ·that the Democratic party is working with
·5· ·Ms. Carroll or New York Magazine, please notify us
·6· ·as soon as possible."
·7· · · · · · · Did anyone ever notify you --
·8· · · · A.· · I don't know.
·9· · · · Q.· · Sitting here today, you can't recall
10· ·anyone who notified you?
11· · · · A.· · I don't know, yeah.
12· · · · Q.· · Now --
13· · · · · · · MS. KAPLAN:· Oh, it's noon.· Leah, I know
14· · · · you wanted to stay on schedule.· Did you want
15· · · · to break now?
16· · · · · · · MS. HABBA:· Okay --
17· · · · · · · THE WITNESS:· No.· No.· I'd rather finish
18· · · · this up.
19· · · · · · · MS. HABBA:· How much more time do you
20· · · · have?
21· · · · · · · MS. KAPLAN:· Oh, I'm not going to be
22· · · · done, but I can get through this section in
23· · · · probably five or ten minutes.
24· · · · · · · MS. HABBA:· Yeah, go ahead.
25


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·BY MS. KAPLAN:
·3· · · · Q.· · Now, in your June 22nd statement, which
·4· ·appears -- which we've marked as DJT 21, you claim
·5· ·that Ms. Carroll had falsely accused other men of
·6· ·sexual assault; correct?
·7· · · · A.· · That's what I heard, yes.
·8· · · · Q.· · And you believed that was a true claim?
·9· · · · A.· · It's what I heard.
10· · · · Q.· · From whom had you heard it?
11· · · · A.· · I don't know.· I don't know.
12· · · · Q.· · What other --
13· · · · A.· · Doesn't she even write about it in her
14· ·book?· Did I hear that too?· She talks about other
15· ·men in the book.
16· · · · Q.· · So from -- you don't remember who told
17· ·you this?
18· · · · A.· · Nope.· That's just what I heard.
19· · · · Q.· · And she does talk about other men in her
20· ·book, but who told you that what she says about the
21· ·other men in her book is false?
22· · · · A.· · I don't know.· I just heard she -- I
23· ·didn't read her book.· I never saw her book until
24· ·now, but I heard she talked about other men in the
25· ·book.· And I had heard she accused other men of


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·things.
·3· · · · Q.· · And you say you'd heard that she had
·4· ·accused other men of things in her book?
·5· · · · A.· · Not in her book -- it could be in the
·6· ·book but maybe outside of the book.· But that she's
·7· ·been -- you know, she's accused other men of things.
·8· · · · Q.· · Okay.· Did whoever told you that she
·9· ·accused other men of things also tell you that all
10· ·those accusations were false?
11· · · · A.· · No.
12· · · · Q.· · Did they tell you that --
13· · · · A.· · It was a statement made.· I don't even
14· ·know who made it, but I had heard that she was --
15· ·that she's accused other men of things, yeah.
16· · · · Q.· · Did anyone tell you that any of the men
17· ·she has accused of other things -- withdrawn.
18· · · · · · · Did anyone tell that you that the
19· ·accusations she has made about other men were false?
20· · · · A.· · I don't know.· Just -- I just heard
21· ·that -- I just heard that she accused other men of
22· ·things.· Maybe that's true; maybe it's not.· I just
23· ·don't know.· That was just something that I heard.
24· · · · Q.· · And you'd agree with me, would you not,
25· ·that sometimes women make accusations against men


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·physically; right?
·3· · · · A.· · I saw her in a picture.· I didn't know
·4· ·what she looked like, and I said it -- and I say it
·5· ·with as much respect as I can, but she is not my
·6· ·type.
·7· · · · Q.· · And, again, when you say "type," you just
·8· ·referred to looking at photos.· So you mean
·9· ·physically she's not your type?
10· · · · A.· · Physically she's not my type, and now
11· ·that I've gotten indirectly to hear things about
12· ·her, she wouldn't be my type in any way, shape, or
13· ·form.
14· · · · Q.· · But when you were talking back on June
15· ·24th, you were referring to her not being your type
16· ·physically; correct?
17· · · · A.· · I saw a photo of her.
18· · · · Q.· · Okay.
19· · · · A.· · And the only difference between me and
20· ·other people is I'm honest.· She's not my type.
21· · · · Q.· · Do you recall what photo you saw of her
22· ·before you made that statement?
23· · · · A.· · No.· No.· I saw a photo after the --
24· ·after her ridiculous accusation was made, I got to
25· ·see a photo -- somebody --


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·allegedly made?
·3· · · · A.· · Just a general statement.
·4· · · · Q.· · Okay.· Now, I'm going to go through a
·5· ·list of people who I think you may have spoken to
·6· ·about Ms. Carroll's allegations or this lawsuit.                   I
·7· ·want to do this carefully.· So what I first want to
·8· ·just ask you is -- I want to give you the person's
·9· ·name, and you can tell me, yes or no, you spoke to
10· ·them.· And if it's yes, I may have some follow-up
11· ·questions but --
12· · · · A.· · Okay.
13· · · · · · · MS. HABBA:· Just so that I don't have to
14· · · · object on every ground, obviously executive
15· · · · privilege.· I don't want to go into the
16· · · · substance of any conversations with any of his
17· · · · advisers or anyone while he was in the
18· · · · White House.
19· · · · · · · MS. KAPLAN:· I understand that.· Let's
20· · · · take it question by question.
21· · · · · · · MS. HABBA:· Sure.
22· ·BY MS. KAPLAN:
23· · · · Q.· · Did you ever communicate about
24· ·Ms. Carroll or this lawsuit with Dan Scavino?
25· · · · A.· · I don't remember having done so.· It's


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·possible, but I don't remember having done so.
·3· · · · Q.· · Same question for Nicholas Luna.
·4· · · · A.· · I sort of doubt it.· I don't think so.
·5· · · · Q.· · Molly Michael?
·6· · · · A.· · I don't think I talked about it
·7· ·specifically.· It's possible, but I don't think so.
·8· · · · Q.· · Hope Hicks?
·9· · · · A.· · No.· Pretty sure no.
10· · · · Q.· · Adam Kennedy?
11· · · · A.· · Say it again.· Who?
12· · · · Q.· · Adam Kennedy?
13· · · · A.· · I don't think so.
14· · · · Q.· · Derek Lyons?
15· · · · A.· · Pretty sure no.
16· · · · Q.· · Sara Sanders?
17· · · · A.· · No.
18· · · · Q.· · Stephanie Grisham?
19· · · · A.· · I don't remember exactly.· I think -- I
20· ·don't -- it's possible I said something.· I don't
21· ·know.· I really don't -- not much.
22· · · · Q.· · Judd Deere?
23· · · · A.· · Who?
24· · · · Q.· · Judd Deere.
25· · · · A.· · Not that I remember.


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · Q.· · Nick Mulvaney?
·3· · · · A.· · Not that I remember.
·4· · · · Q.· · Emma Doyle?
·5· · · · A.· · Not that I remember.
·6· · · · Q.· · Heidi Stirrup?
·7· · · · A.· · Not that I remember.
·8· · · · Q.· · Kayleigh McEnany?
·9· · · · A.· · Not that I remember.
10· · · · Q.· · Erin Perrine?
11· · · · A.· · Not that I remember.
12· · · · Q.· · Sarah Matthews?
13· · · · A.· · Not that I remember.
14· · · · Q.· · Daniel -- I hope I'm pronouncing this
15· ·right -- Bucheli, B-U-C-H-E-L-I?
16· · · · A.· · Not that I remember.
17· · · · Q.· · Tim Murtaugh?
18· · · · A.· · Some of these people I don't even know.
19· · · · Q.· · Okay.
20· · · · A.· · You're asking me names I don't even know.
21· · · · Q.· · Well, if you don't know, tell me just so
22· ·the record is clear.
23· · · · A.· · Go ahead.
24· · · · Q.· · Tim Murtaugh?
25· · · · A.· · No.


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · Q.· · Matt Wolking?
·3· · · · A.· · No.
·4· · · · Q.· · Zach Parkinson?
·5· · · · A.· · No.· I say -- when I say no, I mean I
·6· ·really have to say not that I remember but --
·7· · · · Q.· · Okay.
·8· · · · A.· · -- pretty much not that I remember.
·9· · · · Q.· · Okay.· And in addition to -- let me make
10· ·sure I got through the list.· Oh, no.· I'm not done.
11· ·Sorry.
12· · · · · · · Jared Kushner?
13· · · · A.· · Did I ever speak to him about it?
14· · · · Q.· · Yeah.
15· · · · A.· · I don't think so.
16· · · · Q.· · Your daughter.
17· · · · A.· · I told my daughter that this was a --
18· · · · · · · MR. MADAIO:· She's just asking whether or
19· · · · not you had a conversation about it.
20· · · · · · · MS. HABBA:· I don't want you to answer.
21· · · · It's privileged.
22· · · · · · · THE WITNESS:· I mentioned it briefly.
23· ·BY MS. KAPLAN:
24· · · · Q.· · Either of your sons?
25· · · · A.· · I don't think so.


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · Q.· · And by the sons, I mean your adult sons.
·3· · · · A.· · Yeah.· I don't think so.
·4· · · · Q.· · Your current wife?
·5· · · · A.· · Yeah.
·6· · · · Q.· · Okay.· And I'm just going to use
·7· ·categories.· In addition to the people that I
·8· ·mentioned, do you recall any conversations with
·9· ·anyone in the legislative branch -- and by that I
10· ·mean the House or the Senate or people who work
11· ·there.
12· · · · A.· · Well, it's probable that I told people
13· ·that there was a false, disgusting lie made about me
14· ·because I would say that to a lot of people.· Even
15· ·if they didn't ask, I was very offended by this.
16· ·This woman is sick.· There's something wrong with
17· ·her, and it's a false story.· So I would go around
18· ·saying that to people, yes.· So it's possible that I
19· ·would say that to legislators.
20· · · · Q.· · What about people in the executive branch
21· ·who I didn't mention?
22· · · · A.· · No.· I mean, I think you mentioned a lot
23· ·of people.
24· · · · Q.· · I did, and I take it -- what about anyone
25· ·else who worked on your presidential campaign?


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · Q.· · Do you recall telling any other woman
·3· ·that if they had been assaulted as Ms. E. Jean
·4· ·describes it in a dressing room, that woman would
·5· ·have fought back?
·6· · · · · · · MS. HABBA:· Objection.
·7· · · · · · · THE WITNESS:· No, I don't remember saying
·8· · · · that.· I don't remember that.· But I didn't --
·9· · · · I don't think I said that.· But if you read --
10· · · · if you see her interview with Anderson Cooper,
11· · · · she's talking about this not only not being an
12· · · · assault, but she said other things that were
13· · · · frankly crazy in terms of what -- that
14· · · · interview, to me, made her look like, number
15· · · · one, a liar, and, number two, like she was off.
16· · · · There's something a little off with her
17· · · · mentally.
18· ·BY MS. KAPLAN:
19· · · · Q.· · So you said a couple of answers ago that
20· ·you would have told -- excuse me -- that you did
21· ·tell people that if this had happened in a dressing
22· ·room of a crowded department store, people would
23· ·have heard it, and people would have asked what the
24· ·hell is going on.
25· · · · A.· · Yeah.· I would say that that would be


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·reporters by email, there's a designated group, and
·3· ·it always goes to the same --
·4· · · · A.· · I don't know how they do that, but it
·5· ·goes to the press.
·6· · · · Q.· · Why did you decide to issue the statement
·7· ·on Truth Social on October 12th?
·8· · · · A.· · Because I was offended at this woman's
·9· ·lie.· Because I was offended that she could just
10· ·make up a story out of cold air, refuted by her
11· ·testimony on CNN, but that she could make up a story
12· ·just out of nowhere and that I get a phone call
13· ·asking me about this ridiculous situation.· The
14· ·woman -- there's something wrong with her in my
15· ·opinion.· Okay.· But it's a false accusation.· Never
16· ·happened, never would happen.· And I posted and I
17· ·will continue to post until such time as -- and then
18· ·I will sue her after this is over, and that's the
19· ·thing I really look forward to doing.· And I'll sue
20· ·you too because this is -- how many cases do you
21· ·have?· Many, many cases, and I know the statements
22· ·that were made -- that you made.· Keep Trump busy
23· ·because this is the way you defeat him, to keep him
24· ·busy with litigation.· So I will be suing you also,
25· ·but I'll be suing her very strongly as soon as this


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·Ms. Carroll; right?
·3· · · · A.· · That's right.
·4· · · · Q.· · And at the deposition in another case
·5· ·where I was here, you referred to, as I recall,
·6· ·Ms. Carroll as Madam Bergdorf Goodman.· Same idea;
·7· ·right?
·8· · · · A.· · Same concept, yeah.
·9· · · · Q.· · Now, when you say in here I don't know
10· ·this woman and have no idea who she is, even though
11· ·you're using the present tense, you're referring
12· ·back to your knowledge as of when she first made the
13· ·allegation --
14· · · · A.· · I still don't know this woman.· I think
15· ·she's a wack job.· I have no idea.· I don't know
16· ·anything about this woman other than what I read in
17· ·stories and what I hear.· I know nothing about her.
18· · · · Q.· · Okay.· Well, I guess the distinction I'm
19· ·trying to make, sir, is that when the allegation
20· ·came out in 2019, you said you -- I think it's your
21· ·testimony that you had no idea who she was.
22· · · · A.· · I still don't.
23· · · · Q.· · Well, today you at least know that she's
24· ·a plaintiff in a case suing you; correct?
25· · · · A.· · Oh, yes.· That, I know, but I know


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·you better watch the interview.
·3· · · · Q.· · In the interview when Ms. Carroll talked
·4· ·about rape being sexy, isn't it true that she said
·5· ·that's a view that many other people hold?
·6· · · · A.· · Oh, I don't know.· I mean, I don't know.
·7· ·All I know is I believe she said rape is sexy or
·8· ·something to that effect, but you'll have to watch
·9· ·the interview.· It's been awhile.
10· · · · Q.· · And just to clarify, I think you said a
11· ·few minutes earlier that you used the word "swooned"
12· ·as a synonym for -- you said the F word -- for
13· ·sexual intercourse?
14· · · · A.· · Yeah.· That's because that's what she
15· ·said.
16· · · · Q.· · What do you mean?· She never used the
17· ·word "swooned."
18· · · · A.· · No.· She said that I did something to her
19· ·that never took place.· There was no anything.                  I
20· ·know nothing about this nut job.
21· · · · Q.· · Okay.· Then you go on to say in the
22· ·statement:· "And while I am not supposed to say it,
23· ·I will."· Why were you not supposed to say it?
24· · · · A.· · Because it's not politically correct to
25· ·say -- read the next.· Go ahead.· That she's not my


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·type?· Yeah.· Because it's not politically correct
·3· ·to say it, and I know that, but I'll say it anyway.
·4· ·She's accusing me of rape, a woman that I have no
·5· ·idea who she is.· It came out of the blue.· She's
·6· ·accusing me of rape -- of raping her, the worst
·7· ·thing you can do, the worst charge.
·8· · · · · · · And you know it's not true too.· You're a
·9· ·political operative also.· You're a disgrace.· But
10· ·she's accusing me and so are you of rape, and it
11· ·never took place.· And I will tell you I made that
12· ·statement, and I said, while it's politically
13· ·incorrect, she's not my type.· And that's
14· ·100 percent true.· She's not my type.
15· · · · Q.· · And when you say "not my type," you want
16· ·people -- your intention of saying -- withdrawn.
17· · · · · · · The point of saying she's not my type is
18· ·to persuade people that you didn't rape her because
19· ·she wasn't attractive enough; correct?
20· · · · · · · MR. MADAIO:· Object to the form.
21· · · · · · · MS. HABBA:· Objection to the form.
22· · · · · · · THE WITNESS:· When I say she's not my
23· · · · type, I say she is not a woman I would ever be
24· · · · attracted to.· There is no reason for me to be
25· · · · attracted to her.· I just -- it's not even


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·2· · · · meant to be an insult.· There's no way I would
·3· · · · ever be attracted to her.· Now, some people
·4· · · · would be attracted to her perhaps.· I would
·5· · · · never be attracted to her.
·6· · · · · · · So in addition to the fact that it never
·7· · · · happened, never could happen -- so I say it's
·8· · · · politically incorrect to say essentially she's
·9· · · · not my type on top of everything else.
10· ·BY MS. KAPLAN:
11· · · · Q.· · So you also have a reference -- you
12· ·have -- withdrawn.
13· · · · · · · At the top of the thing, you say Peekaboo
14· ·James?
15· · · · A.· · Yes.
16· · · · Q.· · I assume that's the New York attorney
17· ·general, Letitia James?
18· · · · A.· · Or New York State attorney general.
19· · · · Q.· · Yes.
20· · · · A.· · You know, your friend Cuomo knows her.
21· · · · Q.· · And then you talk --
22· · · · A.· · You should ask Andrew.· If you want a
23· ·definition, ask Andrew about her.· I think
24· ·you've been through a lot.
25· · · · Q.· · And then you talk about the judge, and


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · many times hoax by all these people, the scum
·3· · · · that we have in our country, lying to Congress
·4· · · · hoax, the spying on my campaign hoax.· They
·5· · · · spied on my campaign, and now they admit it.
·6· · · · That was another hoax, and I could get a whole
·7· · · · list of them.· And this is a hoax too.
·8· ·BY MS. KAPLAN:
·9· · · · Q.· · This -- when you say "this" and "that" --
10· · · · A.· · This ridiculous situation that we're
11· ·doing right now.· It's a big, fat hoax.· She's a
12· ·liar and she's a sick person in my opinion.· Really
13· ·sick.· Something wrong with her.
14· · · · Q.· · Okay.· In addition to the Russia Russia
15· ·Russia hoax, the Ukraine Ukraine Ukraine hoax, the
16· ·Mueller or Mueller hoax, the lying to FISA hoax, the
17· ·lying to Congress hoax, and the spying on your
18· ·campaign hoax, isn't it true that you also referred
19· ·to the use of mail-in ballots as a hoax?
20· · · · A.· · Yeah, I do.· Sure.
21· · · · · · · MS. HABBA:· Objection.
22· · · · · · · THE WITNESS:· I do.· I think they're very
23· · · · dishonest.· Mail-in ballots, very dishonest.
24· ·BY MS. KAPLAN:
25· · · · Q.· · And isn't it true that you yourself have


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·talked about Ms. Leeds.
·3· · · · · · · What else did you know about Ms. Leeds
·4· ·that would indicate to you that she was -- would not
·5· ·have been your first choice other than how she
·6· ·looked?
·7· · · · A.· · I don't know.· I think I probably saw her
·8· ·on television or something.
·9· · · · · · · But -- I don't want to be insulting, but
10· ·when people accuse me of something, I think I have a
11· ·right to be insulting, because they're insulting me.
12· ·They're doing the ultimate insult.· They make up
13· ·stories and then I'm not allowed to speak my mind?
14· ·No, I disagree with that.
15· · · · · · · She would not have been anywhere on a
16· ·list.· I just -- just wouldn't have been for me.
17· · · · · · · It's disgusting.· What she said was
18· ·disgusting.
19· · · · · · · Can you imagine doing that on an
20· ·airplane, what she said?· I'm doing that on an
21· ·airplane?· That's almost as ridiculous as doing it
22· ·in Bergdorf Goodman in a dressing room.
23· · · · Q.· · Now, you just testified at some length,
24· ·sir, that Ms. Leeds would have remembered the date
25· ·or the flight that she was on when she says this


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·1· · · · · · · · · · · · D. J. TRUMP
·2· · · · · · · You wanted people to think that; no?
·3· · · · A.· · All I wanted people to know is that this
·4· ·false story, which is a false, made-up story -- she
·5· ·made it up probably to sell her book or for her own
·6· ·ego, because she's, I think -- again, I've said it
·7· ·before.· I think she's a very deranged, sick person,
·8· ·to make it up.
·9· · · · · · · And I look forward to suing her at the
10· ·appropriate time.
11· · · · Q.· · And are you aware, if you look at page 5
12· ·of the document in front of you, sir, that
13· ·Ms. Humphreys has calculated that what it would cost
14· ·to run a corrective campaign to remedy Ms. Carroll's
15· ·reputation from the things you have said and the
16· ·follow-up millions and millions of times would be in
17· ·the range of 9.9 and $12.5 million?
18· · · · A.· · This is nonsense.· Okay?· She made a
19· ·statement about me and I responded to her statement.
20· ·That's it.
21· · · · · · · Because we could go the other way.
22· ·What's it costing me?· What will it cost me to get
23· ·my reputation back before a wacky person that made
24· ·up a story that I took her up to a department store
25· ·into a little room with people all over the place


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·1· · · · · · · · · · · · D. J. TRUMP
·2· ·and raped her?· That's a sick woman that would say
·3· ·that.· Only a sick -- there's something wrong with
·4· ·her.
·5· · · · · · · And I believe she did it because of her
·6· ·book.· She never mentioned it for years and years
·7· ·and she doesn't know when it took place, how it
·8· ·took -- she doesn't know anything.· She has no idea
·9· ·what season it took place, what day it took place,
10· ·what year it took place.
11· · · · · · · And I have every right to clear my
12· ·reputation.
13· · · · Q.· · And all of the other women who have made
14· ·such accusations against you, including the 24 that
15· ·your campaign cited, they're all sick, too; right?
16· · · · A.· · I don't know about any of these people or
17· ·very many of them.· I mean, every once in a while,
18· ·you get -- I think a lot of famous people have
19· ·charges thrown at them, and many of them are false
20· ·and some of them are true.
21· · · · · · · But in my case --
22· · · · Q.· · None of it is true?
23· · · · A.· · I would say.· I mean, I don't see any.                      I
24· ·mean, you haven't shown me anything.· I don't even
25· ·know what you're even talking about when you say


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